                                                                                     Case 2:15-cv-07158-GW-FFM Document 23 Filed 03/11/16 Page 1 of 3 Page ID #:347



                                                                                             1   Douglas C Emhoff (SBN 151049)
                                                                                                  Email: demhoff@venable.com
                                                                                             2   Tamany Vinson Bentz (SBN 258600)
                                                                                                  Email: tbentz@venable.com
                                                                                             3   Schuyler B. Sorosky (Cal Bar No. 265367)
                                                                                                  Email: sbsorosky@venable.com
                                                                                             4   VENABLE LLP
                                                                                                 2049 Century Park East, Suite 2100
                                                                                             5   Los Angeles, CA 90067
                                                                                                 Telephone: (310) 229-9900
                                                                                             6   Facsimile: (310) 229-9901
                                                                                             7
                                                                                                                    UNITED STATES DISTRICT COURT
                                                                                             8
                                                                                                                  CENTRAL DISTRICT OF CALIFORNIA
                                                                                             9

                                                                                            10
                                                                                                 JUKIN MEDIA, INC., a California            CASE NO. 15-CV-7158-GW-FFM
                                                                                            11   corporation,
                                                                                                                                            Hon. George H. Wu
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12                          Plaintiff,
VENABLE LLP
                                                    LOS ANG ELES, CA 90067




                                                                                            13                    v.                        JOINT STIPULATION OF
                                                                             310-229-9900




                                                                                                                                            DISMISSAL
                                                                                            14   ZOOMIN.TV, a Dutch company,
                                                                                            15                          Defendant.
                                                                                            16

                                                                                            17

                                                                                            18

                                                                                            19

                                                                                            20
                                                                                            21

                                                                                            22

                                                                                            23

                                                                                            24

                                                                                            25

                                                                                            26

                                                                                            27

                                                                                            28


                                                                                                                                                   JOINT STIPULATION OF DISMISSAL
                                                                                     Case 2:15-cv-07158-GW-FFM Document 23 Filed 03/11/16 Page 2 of 3 Page ID #:348



                                                                                             1         IT IS HEREBY STIPULATED and agreed by and between the parties
                                                                                             2   herein, that they have reached a settlement agreement, signed March 10, 2016, and
                                                                                             3   the within action against Zoomin.TV shall be dismissed with prejudice pursuant to
                                                                                             4   Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, each party to bear its
                                                                                             5   own costs and fees.
                                                                                             6

                                                                                             7   Dated: March 11 , 2016                   VENABLE LLP
                                                                                             8
                                                                                                                                          By: /s/ Tamany Vinson Bentz
                                                                                             9                                               Douglas C. Emhoff
                                                                                                                                             Tamany Vinson Bentz
                                                                                            10
                                                                                                                                             Schuyler B. Sorosky
                                                                                            11                                               Attorneys for Plaintiff Jukin Media,
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12
                                                                                                                                             Inc.
VENABLE LLP
                                                    LOS ANG ELES, CA 90067




                                                                                            13
                                                                                                 Dated: March 11, 2016                    JOHNSON & JOHNSON LLP
                                                                             310-229-9900




                                                                                            14

                                                                                            15                                            By: /s/ Neville L. Johnson
                                                                                                                                             Neville L. Johnson
                                                                                            16                                               Douglas L. Johnson
                                                                                            17                                               James T. Ryan
                                                                                                                                             Jennifer Y. Ro
                                                                                            18                                               Attorneys for Defendant Zoomin.TV
                                                                                            19

                                                                                            20
                                                                                            21

                                                                                            22

                                                                                            23

                                                                                            24

                                                                                            25

                                                                                            26

                                                                                            27

                                                                                            28

                                                                                                                                           1
                                                                                                                                                        JOINT STIPULATION OF DISMISSAL
                                                                                     Case 2:15-cv-07158-GW-FFM Document 23 Filed 03/11/16 Page 3 of 3 Page ID #:349



                                                                                             1                              CERTIFICATE OF SERVICE
                                                                                             2
                                                                                                       I, Arkisa Ward, declare that I am over the age of eighteen (18) and not a
                                                                                             3
                                                                                                 party to the entitled action. I am a legal assistant in the law firm of VENABLE
                                                                                             4
                                                                                                 LLP, and my office is located at 2049 Century Park East, Suite 2100, Los Angeles,
                                                                                             5
                                                                                                 CA 90067.
                                                                                             6
                                                                                                       On March 11, 2016, I caused to be filed the following:
                                                                                             7
                                                                                                 JOINT STIPULATION OF DISMISSAL with the Clerk of the Court using the
                                                                                             8
                                                                                                 Official Court Electronic Document Filing System which served copies on all
                                                                                             9   interested parties registered for electronic filing.
                                                                                            10         I declare under penalty of perjury that the foregoing is true and correct.
                                                                                            11
                                                                                                                                                 /s/Arkisa Ward
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12                                                   Arkisa Ward
VENABLE LLP
                                                    LOS ANG ELES, CA 90067




                                                                                            13
                                                                             310-229-9900




                                                                                            14

                                                                                            15

                                                                                            16

                                                                                            17

                                                                                            18

                                                                                            19

                                                                                            20
                                                                                            21

                                                                                            22

                                                                                            23

                                                                                            24

                                                                                            25

                                                                                            26

                                                                                            27

                                                                                            28



                                                                                                                                                                  CERTIFICATE OF SERVICE
